Case 2:05-cr-20074-.]PI\/| Document 59 Filed 07/07/05 Page 1 of 2 Page|D 60

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FoR THE wEs'rERN nIs'rRIc'r oF TF.NNESSEE

 

wEsTERN DIvIs:l:oN 05 JUL "7 PH |2= 29
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UNITED sTATEs oF AMERICA ) "HtMiiS
}
Plaintiff, )
)
vs. ) cR. No. 05-20068-D
) 05-20072-0
ARIANE GRANT ) 05~20073-D
Defendanc. ) 05-20074-Dv’
) 05-20078-D

 

oRDER oN cHANGF. oF PLE.A
Am:) SETTING

 

This cause came to be heard on July 1, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Ariane Grant, appearing in person and with
counsel, Larry E. Copeland, Jr., who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l in each of the
Indictments.

Remaining Counts shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MONDAY, OCTOBER 3, 2005, at
1:30 P.M., in Courtrodm No. 3, on the 9th floor before Jddge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the GQJ* day of July, 2005.

  

TE STATES DISTR.ICT JUDGE

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UNITED s`…ATEIsTIC COURT - W"'RNTE D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:05-CR-20074 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

